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                         IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 ) Chapter 11
                                                       )
GIGAMONSTER NETWORKS, LLC, et al.,1                    ) Case No. 23-10051 (JKS)
                                                       )
                                 Debtors.              ) (Jointly Administered)
                                                       )


               ORDER GRANTING FIRST QUARTERLY APPLICATION
           FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES OF
               PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
                FOR THE DEBTORS AND DEBTORS IN POSSESSION,
         FOR THE PERIOD FROM JANUARY 17, 2023 THROUGH MARCH 31, 2023

                 Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), as counsel for the Debtors and

Debtors in Possession (the “Debtors”) in the above-captioned cases, filed its First Quarterly Fee

Application for Compensation and for Reimbursement of Expenses for the Period from January

17, 2023 through March 31, 2023 (the “First Quarterly Fee Application”). The Court has

reviewed the First Quarterly Fee Application and finds that: (a) the Court has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) notice of the First Quarterly Fee

Application, and any hearing on the First Quarterly Fee Application, was adequate under the

circumstances; and (c) all persons with standing have been afforded the opportunity to be heard

on the First Quarterly Fee Application. Accordingly, it is hereby

                 ORDERED that the First Quarterly Fee Application is GRANTED, on an interim

basis. The Debtors in the above cases shall pay to PSZ&J the sum of $2,229,904.75 as

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  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.


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compensation for necessary professional services rendered, and actual and necessary expenses in

the amount of $32,981.52 for a total of $2,262,886.27 for services rendered and disbursements

incurred by PSZ&J for the period January 17, 2023 through March 31, 2023, less any amounts

previously paid in connection with the monthly fee applications.

                 ORDERED that this Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.




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